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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

     BM318, LLC C/O TIMOTHY BARTON,
     PRESIDENT, ET AL.,

          Appellants,

     v.                                                  No. 4:24-cv-00863-P

     COURTNEY C. THOMAS, ET AL.,

          Appellees.


                       MEMORANDUM OPINION & ORDER
        Before the Court is a Joint Motion to Dismiss Appeal (“Motion”) filed
     by Appellees Courtney C. Thomas, Dixon Water Foundation (“Dixon”),
     and Lumar Land & Cattle, LLC (“Lumar”). ECF No. 13. Having
     considered the Motion, other relevant filings, and the applicable law, the
     Court will grant the Appellees’ Motion and dismiss this appeal.

                                 BACKGROUND
        This appeal follows the final judgment from a bankruptcy
     proceeding. The Appellant, Timothy Barton (“Barton”), filed the appeal
     pro se as President of BM318, LLC (“BM318”).
       On September 1, 2020, BM318 filed a voluntary chapter 11 petition,
     which initiated a case in the United States Bankruptcy Court for the
     Northern District of Texas, Fort Worth Division (“Bankruptcy Case”).
     Separately, on September 23, 2022, the Securities Exchange
     Commission brought a lawsuit against Barton in the Northern District
     of Texas, Dallas Division in Civil Action No. 3:22-cv-2118-X (“SEC
     Lawsuit”). In the SEC Lawsuit, the Dallas court appointed Courtney C.
     Thomas as the Receiver (hereinafter “Receiver”) to take exclusive
     possession and control of BM318 and numerous other entities controlled
     by Barton. Given the Receivership Order in the SEC Lawsuit, when
     BM318 filed an adversary proceeding against Dixon in the Bankruptcy
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     Case on August 10, 2021, for alleged preferential and fraudulent
     transfers, the Bankruptcy Court entered an order authorizing Lumar
     and Receiver to intervene.

       Vested with exclusive authority to direct the corporate governance of
     BM318 under the Receivership Order, the Receiver took control of
     BM318 in the Bankruptcy Case. Then, on behalf of BM318, the Receiver
     entered into settlement agreements with Lumar and Dixon. The
     Bankruptcy Court approved those settlements on May 28, 2024, and
     entered the Agreed Judgment on August 26, 2024. On September 10,
     2024, and despite the Receiver having exclusive control over BM318 in
     the Bankruptcy Case—and Barton not having been a party in the
     Bankruptcy Case—Barton signed a Notice of Appeal in his individual
     capacity pro se in this case and wrote “Appellant” next to BM318’s title.

        On December 3, 2024, Appellees Receiver, Lumar, and Dixon filed
     this Joint Motion to Dismiss Barton’s Appeal. ECF No. 13. The Court
     now addresses that Motion.

                               LEGAL STANDARD
       Generally, this Court has jurisdiction to hear bankruptcy appeals
     under 28 U.S.C. § 158. However, “[t]he rule that only parties to a
     lawsuit, or those that properly become parties, may appeal an adverse
     judgment, is well settled.” Marino v. Ortiz, 484 U.S. 301, 304 (1988); see
     also Bayard v. Lombard, 50 U.S. 530, 546 (1850) (“Such a writ [of error]
     cannot be sued out by persons who are not parties to the record . . . [or]
     by strangers to the judgment and proceedings . . . .”); Payne v. Niles, 61
     U.S. 219, 221 (1857) (“[I]t is very well settled in all common-law courts,
     that no one can bring up, as plaintiff in a writ of error, the judgment of
     an inferior court to a superior one, unless he was a party to the judgment
     in the court below . . . .”); United States ex rel. La. v. Boarman, 244 U.S.
     397, 402 (1917) (describing the principle proscribing nonparty appeals
     “as a subject no longer open to discussion”).




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                                       ANALYSIS
        Barton does not contest that he was a nonparty to the underlying
     bankruptcy action. 1 Instead, Barton rests his claim to standing on a
     single Fifth Circuit opinion, Castillo v. Cameron County, Texas, which
     held that nonparties may have standing on appeal if: (1) the nonparties
     actually participated in the proceedings below; (2) the equities weigh in
     favor of hearing the appeal; and (3) the nonparties have a personal stake
     in the outcome. 238 F.3d 339, 349 (5th Cir. 2001).

         While Barton goes to lengths in his response to demonstrate how this
     case fits with the Castillo analysis, he fails to note that Castillo has been
     all but overruled. In fact, Barton himself was recently a party in a Fifth
     Circuit case recognizing that “it is not clear Castillo remains good law.”
     See Matter of 2999TC Acquisitions, L.L.C., No. 23-10648, 2024 WL
     1283342, at *2 (5th Cir. Mar. 26, 2024). Rather, as the Fifth Circuit has
     recognized, “only parties to a lawsuit, or those that properly become
     parties, may appeal an adverse judgment,” id. (quoting Marino, 484 U.S.
     at 304), and Barton, by his own admission, was not a party.

        Even if Castillo did apply, Barton would fail to meet the standard.
     Barton’s reliance on Searcy v. Philips Electronics North America Corp.
     to demonstrate “participation” in the Bankruptcy Case is misplaced. 117
     F.3d 154 (5th Cir. 1997). In Searcy, the Fifth Circuit found that the
     United States Government had standing to appeal, but only based on
     the “unique structure of the False Claims Act.” 2 But this “adequate”
     level of participation cannot be gleaned from the Bankruptcy Case for
     Barton. In fact, as Barton admits, the Bankruptcy Court “barred [him]
     from taking any action to protect his own interests in BM318 during [the


        1See ECF No. 20, at 2 (suggesting that, while “Appellees are correct that a

     nonparty . . . does not have standing to appeal,” Barton’s appeal is proper for
     other reasons).

        2“[T]he unique structure of the False Claims Act gives the government an

     adequate level of participation in the district court proceedings, a good-faith
     reliance on a statutory right, and a concrete stake in the outcome. Thus, the
     government’s appeal is properly before us even though the government is not
     a party that ordinarily could challenge as of right the district court’s final
     order.” Searcy, 117 F.3d at 158.

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     settlement] negotiations” given the Receivership Order in place. 3
     Accordingly, as in Matter of 2999TC Acquisitions, “Barton did not
     personally participate in the proceeding below,” and that is enough to
     disqualify his right to appeal even under Castillo. 2024 WL 1283342, at
     *2.

        Additionally, given the Receivership Order, Barton is no longer in
     control of BM318, the real party in interest. As a consequence, Barton
     also has no personal stake in the outcome—this interest is now vested
     in the Receiver. As for any purported remaining equity interest he owns
     in BM318, 4 multiple courts have rejected the notion that alleging a
     diminishment in value of equity interests is sufficient to establish
     standing. 5

        Barton’s lack of appellate standing is therefore sufficient to dispose
     of this case.




        3ECF No. 20, at 10.


        4ECF   No. 20, at 8 (arguing that the decision in the Bankruptcy Case
     “negatively affected Mr. Barton, the CEO and managing member, with
     ownership and property interests in the business”).

        5See Thakkar v. Good Gateway, LLC, 831 Fed. App’x 479, 480 (11th Cir.

     2020) (affirming dismissal of shareholder’s appeal from bankruptcy settlement
     to which he was not a party because approval of the settlement “only indirectly
     affected his pecuniary interest in the debtor, if at all”); Sears v. Sears (In re
     AFY), 733 F.3d 791, 793 (8th Cir. 2013) (dismissing shareholder appeal from
     order overruling claim objection because “[a]ny effect on appellants is indirect,
     based on their status as shareholders of [the debtor]”); Kauffman v. Dreyfus
     Fund, Inc., 434 F.2d 727, 732 (3d Cir. 1970) (“A stockholder of a corporation
     does not acquire standing to maintain an action in his own right, as a
     shareholder, when . . . the only injury to the shareholder is the indirect harm
     which consists in the diminution in value of his corporate shares . . . .”).



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       Defendants.
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       Before the Court is Plaintiff’s Unopposed Motion for Leave to File
    Second Amended Complaint. ECF No. 18. Having considered the Motion
                                 CONCLUSION
    and applicable docket entries, the Court GRANTS the Motion.
       For the reasons stated above, the Court hereby GRANTS the
       SO ORDERED on this 18th day of September 2023.
    Appellees’ Motion to Dismiss and DISMISSES this appeal.

        SO ORDERED on this 4th day of February 2025.




                        ______________________________________________
                        Mark T. Pittman
                        UNITED STATES DISTRICT JUDGE




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